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               In the United States Court of Federal Claims
                                    OFFICE OF SPECIAL MASTERS
                                          Filed: July 25, 2022

* * * * * * *                   * *   * ** *
JAMES GUDAITIS                            *
                                          *               UNPUBLISHED
                                          *
              Petitioners,                *               No. 17-1570V
                                          *
v.                                        *               Special Master Gowen
                                          *
SECRETARY OF HEALTH                       *               Stipulation for Award; Influenza
AND HUMAN SERVICES,                       *               (“Flu”); Optic Neuritis; Multiple
                                          *               Sclerosis (“MS”); Significant
              Respondent.                 *               Aggravation.
* * * * * * * * * * * * *
Michael Firestone, Marvin Firestone, MD, JD and Associates, San Mateo, CA, for petitioner.
Ryan Pyles, Department of Justice, Washington, D.C., for respondent.

                                    DECISION FOR STIPULATION 1

       On October 19, 2017, James Gudaitis (“petitioner”) filed a petition for compensation
under the National Vaccine Injury Program. 2 Petitioner alleged that as a result of receiving the
Influenza (“flu”) vaccination on October 21, 2014, he developed optic neuritis and multiple
sclerosis or “caused a significant aggravation of a preexisting neurological condition,” and that
he experienced residual effects of this injury for more than six months.

       On July 25, 2022, respondent filed a stipulation providing that a decision should be
entered awarding compensation to petitioner. Stipulation (“Stip.”) (ECF No. 111). Respondent
denies that the Flu vaccine caused petitioner’s alleged optic neuritis, multiple sclerosis, and/or
any other injury. Id. at ¶ 6. Respondent further denies that the vaccination significantly

1
  Pursuant to the E-Government Act of 2002, see 44 U.S.C. § 3501 note (2012), because this opinion contains a
reasoned explanation for the action in this case, I am required to post it on the website of the United States Court of
Federal Claims. The court’s website is at http://www.uscfc.uscourts.gov/aggregator/sources/7. This means the
opinion will be available to anyone with access to the Internet. Before the opinion is posted on the court’s
website, each party has 14 days to file a motion requesting redaction “of any information furnished by that party:
(1) that is a trade secret or commercial or financial in substance and is privileged or confidential; or (2) that
includes medical files or similar files, the disclosure of which would constitute a clearly unwarranted invasion of
privacy.” Vaccine Rule 18(b). “An objecting party must provide the court with a proposed redacted version of the
decision.” Id. If neither party files a motion for redaction within 14 days, the opinion will be posted on the
court’s website without any changes. Id.
2
 The National Vaccine Injury Compensation Program is set forth in Part 2 of the National Childhood Vaccine
Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755, codified as amended, 42 U.S.C. §§ 300aa-1 to -34 (2012)
(Vaccine Act or the Act). All citations in this decision to individual sections of the Vaccine Act are to 42 U.S.C.A. §
300aa.
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aggravated any alleged neurological or other condition. Id. Nevertheless, maintaining their
respective positions, the parties now agree that the issues between them shall be settled and that a
decision should be entered awarding the compensation to the petitioner according to the terms of
the stipulation attached hereto as Appendix A. Id. at ¶ 7.

        The stipulation provides:

        a. An amount sufficient to purchase the annuity contract described in paragraph
           10 of the stipulation, paid to the life insurance company from which the annuity
           will be purchased (the “Life Insurance Company”);

        b. A lump sum payment of $1,723.20, representing compensation for satisfaction of
           a State of California Medicaid lien, payable jointly to petitioner and:

                                  Department of Health Care Services
                                     Recovery Branch – MS 4720
                                          P.O. Box 997421
                                     Sacramento, CA 95899-7421

        Petitioner agrees to endorse this payment to the Department of Health Care
        Services; and

        c. A lump sum of $120,000.00 in the form of a check payable to petitioner. This
           amount represents all remaining compensation for damages that would be
           available under 42 U.S.C. §§ 300aa-15(a).


       I adopt the parties’ stipulation attached hereto, and award compensation in the amount
and on the terms set forth therein. The Clerk of the Court SHALL ENTER JUDGMENT in
accordance with the terms of the parties’ stipulation. 3

        IT IS SO ORDERED.
                                                                      s/Thomas L. Gowen
                                                                      Thomas L. Gowen
                                                                      Special Master




3
 Entry of judgment is expedited by each party’s filing notice renouncing the right to seek review. Vaccine Rule
11(a).


                                                        2
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